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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

   SEAN KREGER,

                Plaintiff,

   v.                                        Case No. 8:16-cv-1481-T-33JSS

   MEDICREDIT, INC.,

             Defendant.
   ____________________________/

                                        ORDER

           This matter comes before the Court pursuant to Defendant

   Medicredit Inc.’s Motion to Dismiss for Failure to State a

   Claim (Doc. # 8), which was filed on June 6, 2016. Plaintiff

   Sean Kreger filed a response in opposition to the Motion (Doc.

   # 16) on June 29, 2016. For the reasons set forth below, the

   Court grants the Motion.

   I.      Background

           Around   September     20,    2014,    Kreger    began     receiving

   telephone calls from Medicredit. (Doc. # 2 at ¶ 8). These

   calls    were    placed    using     an    automatic    telephone   dialing

   system.     (Id.     at   ¶¶   16,    23).    Kreger    answered    one   of

   Medicredit’s first few calls and requested that Medicredit

   stop calling him. (Id. at ¶ 10). Despite Kreger’s request for

   Medicredit to stop calling, Medicredit continued to call.
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   (Id. at ¶ 12). In total, Medicredit called Kreger’s telephone

   at least eighteen times. (Id. at ¶ 13). Medicredit did not

   have Kreger’s express consent to make the calls, and the calls

   were not placed for emergency purposes. (Id. at ¶¶ 17-18).

         Subsequently, Kreger initiated this action in state

   court on May 16, 2016, for a violation of Restrictions on Use

   of   Telephone     Equipment,      47   U.S.C.       §    227;       known       as      the

   Telephone    Consumer       Protection      Act      (TCPA).          (Doc.          #   2).

   Medicredit then removed to this Court, based on federal

   question    jurisdiction,       on      June    9,       2016.        (Doc.      #       1).

   Thereafter, Medicredit filed the pending Motion.

         In the instant Motion, Medicredit argues Kreger fails to

   state a claim upon which relief can be granted because res

   judicata    bars     Kreger’s      claim.      (Doc.      #      8     at       1,       10).

   Specifically, Medicredit argues Kreger’s claim is precluded

   by   the   final    order    and     judgment     entered            in     Prater         v.

   Medicredit, Inc., Case No. 4:14-CV-00159-ERW, 2015 WL 8331602

   (E.D. Mo. Dec. 7, 2015), which incorporated and approved a

   class-action       settlement      agreement.        (Id.        at       2).        Kreger

   counters that Medicredit failed to meet the requisites of res

   judicata and that Medicredit did not provide practicable

   notice of the class action. (Doc. # 16 at 1). Alternatively,

   if the Court finds that the Motion should be granted, Kreger


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   requests the Court to stay this case pending his petition for

   a late-filed opt-out in the Prater class action. Id.

   II.    Legal Standard

          On a motion to dismiss, this Court accepts as true all

   the allegations in the complaint and construes them in the

   light most favorable to the plaintiff. Jackson v. Bellsouth

   Telecomms., 372 F.3d 1250, 1262 (11th Cir. 2004). Further,

   this    Court   favors    the   plaintiff    with   all   reasonable

   inferences from the allegations in the complaint. Stephens v.

   Dep’t of Health & Human Servs., 901 F.2d 1571, 1573 (11th

   Cir. 1990) (“On a motion to dismiss, the facts stated in [the]

   complaint and all reasonable inferences therefrom are taken

   as true.”).       However, the Supreme Court explains that:

          While a complaint attacked by a Rule 12(b)(6)
          motion to dismiss does not need detailed factual
          allegations, a plaintiff’s obligation to provide
          the grounds of his entitlement to relief requires
          more than labels and conclusions, and a formulaic
          recitation of the elements of a cause of action
          will not do. Factual allegations must be enough to
          raise a right to relief above the speculative
          level.

   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal

   citations omitted). In addition, courts are not “bound to

   accept as true a legal conclusion couched as a factual

   allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986).

   Furthermore, “[t]hreadbare recitals of the elements of a


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   cause of action, supported by mere conclusory statements, do

   not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

         Additionally,    “[a]   complaint    may   be   dismissed   for

   failure to state a claim ‘when its allegations . . . show

   that an affirmative defense bars recovery on the claim.’”

   Horne v. Potter, 392 Fed. Appx. 800, 801 (11th Cir. 2010)

   (internal citation omitted). Also, “[a] district court may

   take judicial notice of certain facts without converting a

   motion to dismiss into a motion for summary judgment.” Id. at

   802 (citing Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278

   (11th Cir. 1999)). “Public records are among the permissible

   facts that a district court may consider.” Universal Express,

   Inc. v. U.S. S.E.C., 177 Fed. Appx. 52, 53 (11th Cir. 2006)

   (internal citation omitted); see also Lozman v. City of

   Riviera Beach, Fla., 713 F.3d 1066, 1075 n.9 (11th Cir. 2013)

   (“Although this matter is before the court on a motion to

   dismiss, we may take judicial notice of the court documents

   from the state eviction action.”).

   III. Analysis

         To establish that a claim is precluded by res judicata,

   a party must show, “(1) there [was] a final judgment on the

   merits; (2) the decision was rendered by a court of competent

   jurisdiction; (3) the parties, or those in privity with them,


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   are identical in both suits; and (4) the same cause of action

   is involved in both cases.” Horne, 392 Fed. Appx. at 802

   (citing Ragsdale v. Rubbermaid, Inc., 193 F.3d 1235, 1238

   (11th    Cir.   1999)).   Additionally,   the   “principles   of   res

   judicata, or claim preclusion, apply to judgments in class

   actions as in other cases.” Juris v. Inamed Corp., 685 F.3d

   1294, 1312 (11th Cir. 2012) (quoting Twigg v. Sears, Roebuck

   & Co., 153 F.3d 1222, 1226 (11th Cir. 1998)). However, “res

   judicata can only be applied to an action if it is first shown

   that doing so would be consistent with due process.” Adams v.

   S. Farm Bureau Life Ins. Co, 493 F.3d 1276, 1285 (11th Cir.

   2007). The Eleventh Circuit has explained:

           [b]efore the bar of claim preclusion may be applied
           to the claim of an absent class member, it must be
           demonstrated that invocation of the bar is
           consistent with due process . . . and an absent
           class member may collaterally attack the prior
           judgment on the ground that to apply claim
           preclusion would deny him due process[.]

   Juris, 685 F.3d at 1312-13 (internal citations omitted).

           An absent class member may collaterally attack the res

   judicata effect of a prior judgment for denial of due process

   by showing adequate notice was not received. Id. at 1313

   (internal citations omitted). According to Federal Rule of

   Civil Procedure, 23(c)(2)(B), “[f]or any class certified

   under Rule 23(b)(3), the court must direct to class members


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   the best notice that is practicable under the circumstances,

   including    individual    notice       to   all   members   who    can    be

   identified through reasonable effort.” (emphasis added).

         However, “[c]ourts have consistently recognized that,

   even in Rule 23(b)(3) class actions, due process does not

   require that class members actually receive notice.” Juris,

   685 F.3d at 1321. And, “[w]here certain class members’ names

   and addresses cannot be determined with reasonable efforts,

   notice by publication is generally considered adequate.” Id.

   (internal citation omitted); see also Id. (quoting Gordon v.

   Hunt, 117 F.R.D. 58, 63 (S.D.N.Y. 1987)) (“This combination

   of mailed notice to all class members who can be identified

   by reasonable effort and published notice to all others is

   the long-accepted norm in large class actions.”); Adams, 493

   F.3d at 1287 (“[W]e find . . . that the steps taken . . . in

   distributing the notice—via multiple first class mailings and

   publication in a national newspaper—as well as providing a

   telephone    number,   website,     and      mailing   address     to   field

   queries from class members, constituted ‘the best notice

   practicable under the circumstances.’”) (internal citation

   omitted).

         Before the Court addresses whether the Prater settlement

   should have a res judicata effect on the present action, it


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   must determine whether notice provided pursuant to the Prater

   settlement satisfied due process. Kreger argues Medicredit

   did   not    provide     practicable       notice   because      Kreger     never

   “received actual notice” and the “notice by publication was

   inadequate.” (Doc. # 16 at 1). As previously mentioned though,

   “due process does not require that class members actually

   receive notice.” Juris, 685 F.3d at 1321. Therefore, Kreger’s

   actual-notice argument is unpersuasive.

           By   performing    reverse     look-ups      of   the    Prater     class

   member’s cellular devices, members who could be reasonably

   identified were sent notice in the mail. (Doc. # 8 at 12).

   This notice provided adequate information about the class

   settlement, as well as a telephone number and mailing address.

   (Id. at 4). Also, an editorial mirroring the language used in

   the mailed notice was published in People magazine. (Id. at

   5-6).    Furthermore,      a   dedicated       website     was     established

   pursuant      to   the     settlement        agreement.         (Id.   at     3).

   Additionally,      the     Court     notes    that    Judge      Webber,      the

   presiding judge in Prater, found the distribution of notice

   to be “the best notice practicable under the circumstances.”

   See Prater, 2015 WL 8331602, at *2 (“The form and method for

   notifying the Class Members of the settlement . . . satisfied

   the requirements of . . . due process, and constituted the


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   best     notice     practicable        under         the     circumstances.”).

   Accordingly,       this    Court   finds    that       the    notice      provided

   pursuant to the Prater settlement was “the best practicable”

   and that the requirements of due process were satisfied.

          Having found due process was satisfied, the Court now

   considers whether the Prater settlement should have a res

   judicata effect on the present action. The first element of

   res judicata is that a final judgment on the merits occurred.

   Horne, 392 Fed. Appx. at 802. The final order and judgment

   entered in Prater, 2015 WL 8331602, which incorporated and

   approved the class action settlement agreement, establishes

   a final judgment on the merits. See Juris, 685 F.3d at 1340

   (“For    purposes     of    determining         res    judicata,        an    order

   approving     a     settlement      agreement              provides     a      final

   determination on the merits.”).

          Under the second element, a party must establish that

   the     decision    was     rendered       by    a     court       of   competent

   jurisdiction. Horne, 392 Fed. Appx. at 802. Subject-matter

   jurisdiction was appropriate in Prater because claims under

   the TCPA—a federal law—were asserted. 2015 WL 8331602 at *1.

   Furthermore, the Prater Court had personal jurisdiction over

   Medicredit    and    Prater    because      Prater         filed   suit      against

   Medicredit in the Eastern District of Missouri Court and


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   Medicredit was a corporation with its principal place of

   business in Missouri. (Doc. # 8 at 15-16). Thus, as the Court

   in Prater found, 2015 WL 8331602, at *1, this Court determines

   jurisdiction properly rested with the Court in Prater and

   therefore, the second element of res judicata is satisfied.

         The third element of res judicata requires that a party

   must prove the parties, or those in privity with them, are

   identical in both suits. Horne, 392 Fed. Appx. at 802. The

   Prater settlement will govern res judicata in this case. See

   Norfolk S. Corp. v. Chevron U.S.A., Inc., 371 F.3d 1285, 1288

   (11th Cir. 2004) (“Where the parties consent to such a

   dismissal    based   on   a   settlement   agreement,   however,   the

   principles of res judicata apply (in a somewhat modified form)

   to the matters specified in the settlement agreement, rather

   than the original complaint.”). Also, “[i]n determining the

   res judicata effect of an order of dismissal based upon a

   settlement agreement, we should also attempt to effectuate

   the parties’ intent.” Id. at 1289.

         The Prater settlement defined “parties” as “settlement

   class members together with defendant” Medicredit. (Doc. # 8-

   1 at 13). Also, “[s]ettlement class members” was defined as

   “those persons who are members of the class . . . and who do

   not timely and validly request exclusion from the settlement


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    class.”    (Id.   at   14).   Furthermore,     the   Prater   settlement

    defined “class” as:

         [a]ll persons and entities throughout the United
         States (1) to whom Medicredit, Inc. . . . made or
         caused to be made one or more telephone calls, (2)
         directed to a number assigned at the time of the
         call(s) to a cellular telephone service (whether
         the number was assigned to the person receiving the
         call or not), (3) by using an automatic telephone
         dialing system and/or an artificial or prerecorded
         voice, (4) from January 28, 2010 to July 13, 2015
         and (5) for whom Medicredit, Inc. . . . did not
         have a valid consent for such call or calls at the
         time thereof.

    (Id. at 12); Prater, 2015 WL 8331602, at *2.

         Kreger is a person located in the United States to whom

    Medicredit made calls. (Doc. # 2 ¶¶ 5, 13). These calls were

    directed to a number assigned to a cellular service for which

    Medicredit did not have consent to call. (Id. at ¶¶ 13, 23).

    Also, these calls were placed using an automatic telephone

    dialing system. (Id. at ¶ 16). Furthermore, these calls were

    made between January 28, 2010, and July 13, 2015, (Kreger

    alleges that the calls began around September 20, 2014, and

    occurred during 2015, but does not mention when the calls

    ceased).    See   (Id.   at   ¶¶   8,   13).   Kreger   satisfies    the

    definition of a settlement class member and therefore, the

    parties are identical in this suit, pursuant to the settlement

    agreement.



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         The fourth element of res judicata requires that a party

    must show the same cause of action is involved in both cases.

    Horne, 392 Fed. Appx. at 802. “Two cases are the same ‘claim’

    or ‘cause of action’ ‘if a case arises out of the same nucleus

    of operative fact, or is based upon the same factual predicate

    as a former action.’” Id. (quoting Ragsdale, 193 F.3d at

    1239).

         The present case arose from the same factual predicate

    as in the Prater case. In this case, Medicredit allegedly

    placed calls to Kreger using an automatic telephone dialing

    system without Kreger’s consent. (Doc. # 2 at ¶¶ 13-14, 16,

    23). In Prater, Medicredit was alleged to have placed calls

    to the class members using an automatic telephone dialing

    system without their consent. Prater, 2015 WL 8331602, at *2.

    Both cases arose from the same TCPA violations and, therefore,

    the fourth element of res judicata is met.

         With the requirement of due process being met, and the

    elements of res judicata being satisfied, Kreger’s Motion is

    granted.   Having   granted   the      Motion,   the   Court   turns   to

    Kreger’s alternative request that the Court to stay this case

    pending a petition for a late-filed opt-out in the Prater

    class action.




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         District     courts    have    “broad   discretion    to    stay

    proceedings as an incident to [their] power to control [their]

    own docket[s].” Four Seasons Hotels and Resorts, B.V. v.

    Consorcio Barr S.A., 377 F.3d 1164, 1172 n.7 (11th Cir. 2004)

    (quoting Clinton v. Jones, 520 U.S. 681, 706 (1997)). To be

    sure, “the decision to grant a stay . . . is ‘generally left

    to the sound discretion of district courts.’” Connor v. Sec’y,

    Fla. Dep’t of Corr., 713 F.3d 609, 619 (11th Cir. 2013)

    (internal citation omitted). Also, “[a] stay must not be

    ‘immoderate.’” Ortega Trujillo v. Conover & Co. Commc’ns,

    Inc., 221 F.3d 1262, 1264 (11th Cir. 2000) (internal citation

    omitted).

         Although Kreger requests a stay so he may file a belated

    motion to opt-out in Prater, he provides no information as to

    when he would file such a motion. Moreover, the Court has no

    way of knowing when the Prater Court would rule on the motion

    absent pure speculation. As such, the Court declines to stay

    the action. See Pecan E. Antonio Inv’rs, Inc. v. KPMG LLP,

    No. Civ.A.SA040677FB(N., 2005 WL 2105751, at *5 (W.D. Tex.

    Aug. 31, 2005) (recommending motion to stay be denied, in

    part, because court could not determine length of stay absent

    speculation).

         Accordingly, it is


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          ORDERED, ADJUDGED, and DECREED:

    (1)   Defendant   Medicredit    Inc.’s   Motion    to   Dismiss   for

          Failure to State a Claim (Doc. # 8) is GRANTED.

    (2)   The Complaint is DISMISSED and the Clerk is directed to

          CLOSE this case.

          DONE and ORDERED in Chambers in Tampa, Florida this 19th

    day of July, 2016.




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